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                      IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF DELAWARE

RICKY THOMPSON-EL,           :
                             :
         Plaintiff,          :
                             :
      v.                     :                   Civ. No. 18-1426-RGA
                             :
GREATER DOVER BOYS AND GIRLS :
CLUB,                        :
                             :
         Defendant.          :

                                MEMORANDUM ORDER

       At Wilmington this 23 day of October, 2020;

       Plaintiff having been ordered on October 5, 2020 to show cause why this case

should not be dismissed for his failure to comply with the Court’s July 27, 2020 Order,

and Plaintiff having failed to respond to the show cause order (D.I. 25);

              IT IS ORDERED that the complaint is dismissed without prejudice for

Plaintiff’s failure to comply with court orders and apparent abandonment of the case.



                                                   /s/ Richard G. Andrews
                                                  UNITED STATES DISTRICT JUDGE
